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COMMONWEALTH OF VIRGINIA
COUNTY OF ALBEMARLE

Elizabeth Sines, Seth Wispelwey, Marissa Blair, Tyler Magill, April Muniz, Hannah
Pearce, Marcus Martin, John Doe, Jane Doe 1, Jane Doe 2, Jane Doe 3
Plaintiff

V5.

Jason Kessler, Richard Spencer, Christopher Cantwell, James Fields Jr, Vanguard
America, Andrew Anglin, Moonbase Holdings, LLC et al
Defendant

I, Fred Kirschnick, Deputy for the County of Albemarle, Virginia, hereby certify that the
following service was made in the above styled case. Christopher Cantwell was personally
served a Summons, Cover Sheet, Complaint, and Plaintiff’s Jury Demand at The
Albemarle-Charlottesville Regional Jail (160 Peregory Ln) in Charlottesville, Virginia on
October 25, 2017.

edd. O. Wregdynct esos

Deputy
for J.E. “Chip” Harding, Sheriff

 

Sworn before me on this date, Orkney TD, Cary the above
signed ive 4 Ai S( Van iclw , Deputy for County of Albemarle, Virginia.

TiGanu Ml ¥e AAZHS5O Notary
Ad\zsli4 Date

My commission expires Sepiy wWhoev 20 FOa

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